        Case 3:18-cr-00319-MO     Document 233    Filed 11/12/19   Page 1 of 1


                    UNITED STATES COURT OF APPEALS
                                                                     FILED
                           FOR THE NINTH CIRCUIT
                                                                     NOV 12 2019
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 UNITED STATES OF AMERICA,                      No. 19-30208

               Plaintiff - Appellee,
                                                D.C. No. 3:18-cr-00319-JO-7
   v.                                           U.S. District Court for Oregon,
                                                Portland
 JOSEPH DUANE FOLKERTS,
                                                MANDATE
               Defendant - Appellant.


        The judgment of this Court, entered October 21, 2019, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: Craig Westbrooke
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7
